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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN


PAUL RYAN and
OULIANA RYAN,

                            Plaintiffs,                               ORDER
       V.
                                                                   l 8-cv-298-jdp
JEFF MARTINO and HEART OF
THE NORTH HOME INSPECTION, INC.,
                            Defendants.



      The parties have informed the court that they have reached a settlement. Accordingly, the

case is dismissed. Any party may move to reopen the case for good cause.

       Entered May 29 , 2019 .

                                          BY THE COURT:



                                          J~ETERSON
                                          District Judge
